               Case 2:20-cr-00032-JCC Document 66 Filed 05/22/20 Page 1 of 3



 1                                                                       The Honorable Paula L. McCandlis
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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        UNITED STATES OF AMERICA,                                      NO. CR20-032JCC
11
                                Plaintiff,
                                                                       GOVERNMENT’S NOTICE OF FILING
12
                                                                       PHYSICAL MATERIALS WITH THE
13                                                                     CLERK
                           v.
14
        KALEB COLE,
15
                                Defendant.
16
17          The United States of America, by Brian T. Moran, United States Attorney for the
18 Western District of Washington, and Thomas Woods, Assistant United States Attorney
19 for said District, hereby gives notice with the Clerk of this Court that video Exhibits A
20 and B of the Government’s Response to Defendant’s Motion to Reopen Detention
21 Hearing are being filed in physical form with the Clerk's Office for the Western District
22 of Washington. The exhibits will remain in the Clerk's custody until appropriate
23 disposition pursuant to the Local Rules of the Western District of Washington.
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26 //
27
28
     Government’s Notice of Filing Physical Materials with the Clerk                   UNITED STATES ATTORNEY
                                                                                      700 STEWART STREET, SUITE 5220
     United States v. Cole, CR20-032JCC - 1                                             SEATTLE, WASHINGTON 98101
                                                                                              (206) 553-7970
               Case 2:20-cr-00032-JCC Document 66 Filed 05/22/20 Page 2 of 3



 1          DATED this 22nd day of May, 2020.
 2
                                                                Respectfully submitted,
 3
                                                                BRIAN T. MORAN
 4
                                                                United States Attorney
 5
                                                                s/ Thomas M. Woods
 6
                                                                THOMAS M. WODS
 7                                                              Assistant United States Attorney
                                                                United States Attorney’s Office
 8
                                                                700 Stewart Street, Suite 5220
 9                                                              Seattle, Washington 98101-3903
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     Government’s Notice of Filing Physical Materials with the Clerk                UNITED STATES ATTORNEY
                                                                                   700 STEWART STREET, SUITE 5220
     United States v. Cole, CR20-032JCC - 2                                          SEATTLE, WASHINGTON 98101
                                                                                           (206) 553-7970
               Case 2:20-cr-00032-JCC Document 66 Filed 05/22/20 Page 3 of 3



 1                                      CERTIFICATE OF SERVICE
 2
 3          I hereby certify that on March 22, 2020, I electronically filed the foregoing with
 4 the Clerk of Court using the CM/ECF system which will send notification of such filing
 5 to the attorney of record for the defendant.
 6
 7                                                              s/ Courtney Goertzen
                                                                COURTNEY GOERTZEN
 8
                                                                Paralegal Specialist
 9                                                              United States Attorney’s Office
                                                                700 Stewart Street, Suite 5220
10
                                                                Seattle, Washington 98101-1271
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     Government’s Notice of Filing Physical Materials with the Clerk                UNITED STATES ATTORNEY
                                                                                   700 STEWART STREET, SUITE 5220
     United States v. Cole, CR20-032JCC - 3                                          SEATTLE, WASHINGTON 98101
                                                                                           (206) 553-7970
